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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     (Charlotte Division)

In re:                                           )     Chapter 11
                                                 )
B GSE GROUP, LLC,                                )     Case No. 23-30013
                                                 )
                             Debtor.             )

            RESPONSE TO MOTION FOR RELIEF FROM AUTOMATIC STAY

         Now comes debtor B GSE Group, LLC (the “Debtor”) and objects to Creditor John Bean

Technologies Corporation’s Motion for Entry of Order for Limited Relief from the Automatic

Stay to Finalize Litigation Pending in the United States District Court for the District of Utah

(the “Stay Relief Motion”) [Doc. 28] filed by John Bean Technologies Corporation. The Debtor

respectfully requests: (1) that a hearing be held on the Stay Relief Motion; (2) that the Stay

Relief Motion be denied in whole or in part; (3) alternatively, in the event the Stay Relief Motion

is allowed, that the 14-day stay set forth in Bankruptcy Rule 4001(a)(3) not be waived; and (4)

that the Court grant such other relief as is just and proper.

Dated: Charlotte, North Carolina
       January 26, 2023

                                           MOON WRIGHT & HOUSTON, PLLC

                                                  /s/ Richard S. Wright
                                           Richard S. Wright (Bar No. 24622)
                                           212 North McDowell Street, Suite 200
                                           Charlotte, North Carolina 28204
                                           Telephone: (704) 944-6560
                                           Facsimile: (704) 944-0380
                                           Counsel for the Debtor




MWH: 10782.001; 00028137.1
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                                      CERTIFICATE OF SERVICE

         I hereby certify that the foregoing Response to Motion for Relief from Automatic Stay

was served by electronic notification on those parties registered with the United States

Bankruptcy Court, Western District of North Carolina ECF system to receive notices for this

case on the date shown below.

Dated: Charlotte, North Carolina
       January 26, 2023

                                          MOON WRIGHT & HOUSTON, PLLC

                                                 /s/ Richard S. Wright
                                          Richard S. Wright (Bar No. 24622)
                                          212 North McDowell Street, Suite 200
                                          Charlotte, North Carolina 28204
                                          Telephone: (704) 944-6560
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